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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION




MILLEDGE A. HART, III, ET AL.,              )
                                            )
             Plaintiffs,                    )
                                            )             CIVIL ACTION NO.
VS.                                         )
                                            )             3:18-CV-2178-G
TUFENKIAN ARTISAN CARPETS,                  )
d/b/a TUFENKIAN CARPETS DALLAS,             )
LLC,                                        )
                                            )
             Defendant.                     )




                    MEMORANDUM OPINION AND ORDER

      Before the court is the defendant Tufenkian Carpet Dallas LLC’s

(“Tufenkian”) partial motion to dismiss the plaintiffs’ Deceptive Trade Practices Act

claim for failure to state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6).

See Defendant’s Motion to Dismiss and Answer to Plaintiffs’ Second Amended

Complaint at 1 (docket entry 15); Defendant’s Second Motion to Dismiss (docket

entry 19). For the reasons discussed below, the motion is DENIED.

                                 I. BACKGROUND

                                A. Factual Background

      The plaintiffs Milledge A. Hart, III and Linda W. Hart (“The plaintiffs” or

“The Harts”) are individual citizens who reside in Texas. Exhibit C of Defendant’s
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Notice of Removal at 1 (docket entry 1-3). The defendant Tufenkian is a limited

liability company based in New York City whose sole member, James Tufenkian,

resides in New York City, New York. Defendant’s Notice of Removal at 2 (docket

entry 1).

      Sometime in 2017, the Harts decided to remodel their home. Plaintiffs’

Second Amended Complaint at 2 (docket entry 14). The Harts sought to purchase

new carpets for the remodel and in the summer and fall of 2017 the Harts and their

representatives examined rug samples at Tufenkian’s showroom in Dallas, the Harts’

Dallas office, and the home where the rugs were to be installed. Id. In early October

of 2017, the Harts’ representative, Joseph Toliver, explained to Tory Sommerfeldt, a

Tufenkian employee, that the Harts required the rugs to be delivered no later than

April 1, 2018. Id. at 2-3; Defendant’s Motion to Dismiss and Answer to Plaintiffs’

Second Amended Complaint at 2. The Harts further allege that Toliver told

Sommerfeldt that the Harts’ remodeling plan was centered entirely on the rugs and

that the Harts would only order the rugs if the rugs could be guaranteed in terms of

the patterns, colors, textures, quality, and delivery time. Plaintiffs’ Second Amended

Complaint at 2-3.

      According to the Harts, after Toliver communicated the Harts’ desires

Sommerfeldt represented that if the Harts purchased Tufenkian rugs, the showroom

samples viewed by the Harts would be sent to the factory to ensure that the rugs



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produced for the Harts would match the showroom samples. Id. at 3. The Harts also

maintain that Sommerfeldt told Marco French, another representative of the Harts,

that the dye lots used in making the rugs would match the sample rugs previously

viewed by the Harts. Id. The Harts claim that they ordered the rugs from Tufenkian

relying on Sommerfeldt’s representations that the patterns, colors, texture, and

quality demonstrated by the showroom samples would match the rugs the Harts

would receive. Id.

      To place the orders, the Harts and Tufenkian entered into a lengthy contract

negotiation process in which both the Harts and Tufenkian made changes to the

quotation contract. Id.; Defendant’s Motion to Dismiss and Answer to Plaintiffs’

Second Amended Complaint at 3. The Harts allege that during the contract

negotiations French told Sommerfeldt that the Harts would flatly reject any contract

that did not require strike offs, which are production samples for a customer to

review and approve prior to the full production. Plaintiffs’ Second Amended

Complaint at 3. Eventually, the Harts and Sommerfeldt, on behalf of Tufenkian,

signed a quotation contract which the Harts allege included a provision requiring

Tufenkian to provide the Harts with strike offs that the Harts were to approve prior

to full production. Id. at 3-4; Defendant’s Motion to Dismiss and Answer to

Plaintiffs’ Second Amended Complaint at 3. The quotation contract was for the

purchase of seven carpets from Tufenkian totaling $261,490.00 and consisting of the



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following carpets: (1) Moonscape Malachite 42.5” x 67.5”; (2) Moonscape Malachite

9’8” x 14’9”; (3) Sierra Red 3’9” x 16’17”; (4) Ven Tides 16’2” x 23’4”; (5)

Luminance Custom 13’7” x 16’6”; (6) Jackson Firewood 2’ x 3’; and (7) Nouvelle

Spectrum 4’8” x 6’7”. Exhibit A of Defendant’s Motion to Dismiss and Answer to

Plaintiffs’ Answer Second Amended Complaint (“The Quotation Contract”) (docket

entry 15-1) at 1-9.

      At the same time the quotation contract was executed and delivered, the Harts

paid Tufenkian more than $130,000.00 by check as a deposit on the rugs. Plaintiffs’

Second Amended Complaint at 4; Defendant’s Motion to Dismiss and Answer to

Plaintiffs’ Second Amended Complaint at 3. The Harts’ check stated that payment

was being made in reliance on the guarantee that the rugs would be delivered by April

1, 2018. Plaintiffs’ Second Amended Complaint at 4; Defendant’s Motion to

Dismiss and Answer to Plaintiffs’ Second Amended Complaint at 3. Sommerfeldt

guaranteed the same in writing. Plaintiffs’ Second Amended Complaint at 4;

Defendant’s Motion to Dismiss and Answer to Plaintiffs’ Second Amended

Complaint at 3. The Harts also maintain that the check specifically stated that

payment was made in reliance on the other guarantees allegedly made by

Sommerfeldt and Tufenkian, that the patterns, colors, texture, and quality

demonstrated by the showroom samples would match the rugs ordered by the Harts.

Plaintiffs’ Second Amended Complaint at 4. After the Harts ordered the rugs, the



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Harts placed purchase orders for items related to the rest of their remodeling plan, all

of which were based around the rugs. Id.

      In December 2017 the Harts maintain that they received the strike offs they

had previously requested. Id. The Harts allege that upon receiving the strike offs it

was clear that two of the rugs they had ordered, the Ven Tides and Sierra Red, were

not the same patterns, colors, texture, or quality as the showroom samples they had

previously viewed. Id. The Harts claim that the strike offs were of a lesser quality,

had different loop length and textures, were different colors, and were not even the

same pattern as the samples of the Ven Tides and Sierra Red they had viewed. Id.

Consequently, the Harts rejected the strike offs due to the differences between the

strike offs and the showroom samples of the Ven Tides and Sierra Red rugs. Id. The

Harts further allege that after receiving the strike offs, Tufenkian took the position

that it was not required to provide the Harts with strike offs for prior approval. Id.

Tufenkian admits that the quotation contract required that strike offs be provided to

the Harts but denies that the Harts’ approval of the strike offs was necessary prior to

full production. Defendant’s Motion to Dismiss and Answer to Plaintiffs’ Second

Amended Complaint at 3. The Harts, on the other hand, maintain that the

quotation contract required the Harts to approve the strike offs prior to full

production, that Tufenkian’s website provided the same, and that prior approval of




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strike offs is consistent with how those in the industry understand strike offs.

Plaintiffs’ Second Amended Complaint at 4-5.

      Due to the discrepancies between the strike offs and the showroom samples,

the Harts demanded that Tufenkian retrieve the showroom samples from the factory

to compare them with the strike offs. Id. at 5; Defendant’s Motion to Dismiss and

Answer to Plaintiffs’ Second Amended Complaint at 3. Tufenkian maintains that it

did as the Harts requested. Defendants Motion to Dismiss and Answer to the

Plaintiffs’ Second Amended Complaint at 3. Nevertheless, the Harts claim that

Tufenkian confessed it could not find the samples because the samples were never

sent to the factory, despite Sommerfeldt’s alleged representation that the dye lots of

the ordered rugs would match the samples. Plaintiffs’ Second Amended Complaint at

5. The Harts also aver that when Tufenkian finally located the showroom samples, it

was clear that the strike offs for the Ven Tides and Sierra Red rugs were completely

different than the samples. Id. In fact, the Harts claim Tufenkian recognized that

the strike off for the Ven Tides rug was so varied from the showroom sample that it

could cause the Harts concern. Id.

      In response to the Harts’ complaints regarding the strike offs, Tufenkian

offered to make new Ven Tides and Sierra Red carpets to comply with the Harts’

specifications. Id.; Defendant’s Motion to Dismiss and Answer to Plaintiffs’ Second

Amended Complaint at 3. Tufenkian informed the Harts that making new carpets



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would require additional time for production beyond the critical April 1, 2018

deadline previously agreed to by both parties. Plaintiffs’ Second Amended

Complaint at 5; Defendant’s Motion to Dismiss and Answer to Plaintiffs’ Second

Amended Complaint at 3-4. Due to concerns that the other rugs they had ordered

would not match the showroom samples they had viewed, the Harts asked for—and

Tufenkian agreed to—an extension of the April 1, 2018 delivery deadline so that the

Harts could first view the rugs they had ordered in Tufenkian’s Dallas showroom.

Plaintiffs’ Second Amended Complaint at 6; Defendant’s Motion to Dismiss and

Answer to Plaintiffs’ Second Amended Complaint at 4.

      On April 17, 2018, the Harts and their representatives met with Tufenkian’s

attorney at Tufenkian’s Dallas showroom to review the rugs the Harts ordered.

Plaintiffs’ Second Amended Complaint at 6; Defendant’s Motion to Dismiss and

Answer to Plaintiffs’ Second Amended Complaint at 4. While Tufenkian maintains

that the rugs shown at the April 17 meeting complied with the quotation contract,

the Harts claim that the rugs did not match the promised specifications and that

Tufenkian failed to live up to its promises. Defendant’s Motion to Dismiss Answer

to Plaintiffs’ Second Amended Complaint at 4; Plaintiffs’ Second Amended

Complaint at 6. Specifically, the Harts maintain that: (1) the full Ven Tides rug was

not the same quality, texture, or color as the showroom sample; (2) the Sierra Red

rug had a very limited amount of red, was not the same quality, texture, or color as



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the sample, and that Tufenkian recommended that the Harts look at the back of the

Sierra Red rug to see red; (3) the two Moonscape Malachite rugs did not match the

rendering, nor were they the same quality or texture as the showroom sample; (4) the

Luminance rug did not match Tufenkian’s rendering and was not the quality that

Tufenkian represented it to be, as it had frayed edges, loose threads, and appeared to

be woven on different looms; (5) the Nouvelle rug did not match Tufenkian’s

rendering and was not the quality Tufenkian represented it to be. Plaintiffs’ Second

Amended Complaint at 6-13. The Harts were not shown the Firewood rug and are

unaware of its patterns, colors, textures, or quality, but argue that because the

remodeling plan was created around all the rugs, the firewood rug would not work for

the remodel by itself. Id. at 13. Ultimately, due to Tufenkian’s alleged breach of

contract and failure to live up to its promises, the Harts rejected the rugs and refused

to take delivery. Id. at 14; Defendant’s Motion to Dismiss Answer to Plaintiffs’

Second Amended Complaint at 4.

                                B. Procedural History

      The Harts originally filed this suit against Tufenkian in the 95th Judicial

District Court of Dallas County, on June 1, 2018. Exhibit B of Defendant’s Notice

of Removal at 2-3 (docket entry 1-2). In their original state court petition, the Harts

asserted two causes of action—a claim of breach of contract and a claim of

promissory estoppel. Exhibit C of Defendant’s Notice of Removal at 6-7. In July of



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2018, before Tufenkian answered the Hart’s original petition, the Harts filed their

first amended petition. Exhibit B of Defendant’s Notice of Removal at 2-3; Exhibit F

of Defendant’s Notice of Removal at 1 (docket entry 1-6). The Harts’ first amended

petition included the same factual allegations as their first petition but added a claim

that Tufenkian’s conduct constituted a breach of the Texas Deceptive Trade Practices

Act (“DTPA”). Compare Exhibit F of Defendant’s Notice of Removal with Exhibit C

of Defendant’s Notice of Removal.

      On August 17, 2018, Tufenkian filed its notice of removal and properly

removed this case from the 95th Judicial District Court of Dallas County to this

court on the basis of diversity of citizenship jurisdiction pursuant to 28 U.S.C.

§§ 1441 and 1446. Notice of Removal at 1-3. On August 24, 2018, Tufenkian filed

its answer to the Harts’ first amended complaint, a counterclaim against the Harts, as

well as its first motion to dismiss. * See generally Defendant’s Partial Motion to

Dismiss, Answer to Plaintiffs’ First Amended Petition, and Counterclaim (docket

entry 5). In its first motion to dismiss Tufenkian argued that the Harts’ DTPA claim

should be dismissed for failure to state a claim upon which relief may be granted

pursuant to Federal Rule of Civil Procedure 12(b)(6). Defendant’s Brief in Support

of its Partial 12(b)(6) Motion to Dismiss (docket entry 6). Specifically, Tufenkian




      *
              Because Tufenkian’s counterclaim is not at issue, this court need not
address it in this opinion.

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maintained that the Harts had failed to state a DTPA claim because precedent from

both the Texas Supreme Court and Fifth Circuit did not allow a party to raise a

DTPA claim that sounded in contract alone, and the alleged misrepresentations

which formed the basis of the Harts’ claim were “nothing more than Tufenkian’s

representations that it would meet the specifications in the [quotation contract].” Id.

at 3-5. In addition, Tufenkian argued that the Harts had not stated a DTPA claim

upon which relief could be granted because the Harts’ alleged injuries were based on

the alleged economic loss to the subject of the contract itself, which meant the Harts’

DTPA claim sounded in contract alone and should therefore be dismissed. Id. at 4-5.

      The Harts filed their response to Tufenkian’s first motion to dismiss on

September 14, 2018. Response to Defendant’s First Motion to Dismiss (docket

entry 11). On the same date, the Harts filed a motion for leave to file an amended

complaint, which this court granted on September 18, 2018. Motion for Leave to

File Amended Complaint (docket entry 10); Order Granting Plaintiffs’ Motion for

Leave to File Amended Complaint (docket entry 13). One day later, on September

19, the Harts filed their second amended complaint, thereby rendering Tufenkian’s

first motion to dismiss moot. See generally Plaintiffs’ Second Amended Complaint. In

their second amended complaint, the Harts made the same allegations and raised the

same three claims against Tufenkian as they did in their first amended petition.




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Compare Plaintiffs’ Second Amended Complaint with Plaintiffs’ First Amended

Petition, Exhibit F of Defendant’s Notice of Removal (docket entry 1-6).

      Tufenkian filed its answer to the Harts’ second amended complaint on

October 3, 2018. Defendant’s Motion to Dismiss and Answer to Plaintiffs’ Second

Amended Complaint at 1. In addition, due to the substantially unchanged nature of

the Harts’ second amended complaint, Tufenkian filed a second motion to dismiss

the Harts’ DTPA claim pursuant to Federal Rule of Civil Procedure 12(b)(6). Id.;

Defendant’s Brief in Support of its Second Partial 12(b)(6) Motion to Dismiss

(“Defendant’s Brief”) at 1 (docket entry 16). Much like Tufenkian’s first motion to

dismiss, Tufenkian’s second motion to dismiss maintains that the Harts’ DTPA claim

should be dismissed as it is only a restatement of the Harts’ breach of contract claim,

since: (1) the misrepresentations which formed the basis of the Harts’ DTPA claim

were “nothing more than Tufenkian’s representations that it would manufacture rugs

that met the specifications in the [quotation contract,]” which meant the Harts’

claim sounded in contract alone; and (2) the Harts’ alleged injury is only the

economic loss to the subject of the contract itself, in addition to consequential

damages from the alleged breach, meaning the Harts’ claim sounded in contract

alone. Id. at 3-6.

      On October 24, 2018 the Harts filed their response to Tufenkian’s second

motion to dismiss. Response to Defendant’s Second Motion to Dismiss (“Response”)



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at 1 (docket entry 17). In their response, the Harts agree that both Fifth Circuit and

Texas Supreme Court precedent have established that “an allegation of a mere breach

of contract, without more, does not constitute a ‘false, misleading, or deceptive act’ in

violation of the DTPA.” Response at 3 (quoting Prestige Oysters, Inc. v. Unisource

Worldwide, Inc., 161 F. Supp. 3d 479, 481 (S.D. Tex. 2015) (citation omitted)).

Nevertheless, the Harts maintain that by way of their second amended complaint,

they have pled more than just breach of contract. Id. Specifically, the Harts’

maintain that their breach of contract claim is based on Tufenkian’s failure to comply

with its contractual promises to deliver rugs of a certain pattern, color, quality, and

texture, whereas the their DTPA claim is based on Tufenkian’s misrepresentations

about the rugs that then convinced the Harts to purchase other items for their

remodeling plan based entirely on the rugs. Id. at 3-4.

      In addition, the Harts argue that based on precedent from this district they

have pled a plausible DTPA claim, since they allege not only that Tufenkian breached

its contract, but that Tufenkian never intended to fulfil the contract in the first place.

Id. at 5 (citing Shakeri v. ADT Security Services, No. 3:13-CV-2852-D, 2014 WL

5780955, at *5-6 (N.D. Tex. Nov. 6, 2014) (Fitzwater, Chief J.)). Furthermore, in

response to Tufenkian’s argument that the Harts’ alleged injury is nothing more than

the economic loss for Tufenkian’s alleged breach of contract, the Harts specify that in

their DTPA claim they seek damages that include items the Harts purchased for their



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remodeling plan in reliance on Tufenkian’s alleged misrepresentations. Id. at 6.

Finally, the Harts assert that because DTPA claims are fact driven, this court should

not dismiss the Harts’ DTPA claim at this stage and should instead determine

whether Tufenkian’s alleged breach of contract amounts to a misrepresentation under

the DTPA after the parties have conducted discovery. Id.

       On November 7, 2018, Tufenkian filed its reply. Reply at 1 (docket entry 18).

In its reply, Tufenkian reiterates that the Harts’ DTPA claim should be dismissed

since it is nothing more than a breach of contract claim. Id. at 1-3. Tufenkian’s

motion to dismiss is now ripe for consideration.

                                      II. ANALYSIS

                                    A. Legal Standard

       “To survive a Rule 12(B)(6) motion to dismiss, the plaintiff must plead

‘enough facts to state a claim to relief that is plausible on its face.’” In re Katrina

Canal Breaches Litigation, 495 F.3d 191, 205 (5th Cir. 2007) (quoting Bell Atlantic

Corporation v. Twombly, 550 U.S. 544, 570 (2007)), cert. denied, 552 U.S. 1182

(2008). “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not

need detailed factual allegations, a plaintiff’s obligation to provide the grounds of his

entitlement to relief requires more than labels and conclusions, and a formulaic

recitation of the elements of the cause of action will not do.” Twombly, 550 U.S. at

555 (citations, quotations marks, and brackets omitted). “Factual allegations must



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be enough to raise a right to relief above the speculative level, on the assumption that

all the allegations in the complaint are true (even if doubtful in fact).” In re Katrina

Canal, 495 F.3d at 205 (quoting Twombly, 550 U.S. at 555) (internal quotation

marks omitted). “The court accepts all well-pleaded facts as true, viewing them in

the light most favorable to the plaintiff.” Id. (quoting Martin K. Eby Construction

Company, Inc. v. Dallas Area Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004))

(internal quotation marks omitted).

      The Supreme Court has prescribed a “two-pronged approach” to determine

whether a complaint fails to state a claim under Rule 12(b)(6). See Ashcroft v. Iqbal,

556 U.S. 662, 678-79 (2009). The court must “begin by identifying the pleadings

that, because they are no more than conclusions, are not entitled to the assumption

of truth.” Id. at 679. The court should then assume the veracity of any well-pleaded

allegations and “determine whether they plausibly give rise to an entitlement of

relief.” Id. The plausibility principle does not convert the Rule 8(a)(2) notice

pleading to a “probability requirement,” but “a sheer possibility that a defendant has

acted unlawfully” will not defeat a motion to dismiss. Id. at 678. The plaintiff must

“plead[ ] factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Id. “[W]here the well-pleaded

facts do not permit the court to infer more than the mere possibility of misconduct,

the complaint has alleged—but it has not ‘show[n]’—‘that the pleader is entitled to



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relief.’” Id. at 679 (alteration in original) (quoting Federal Rule of Civil Procedure

8(a)(2)). The court, drawing on its judicial experience and common sense, must

undertake the “context-specific task” of determining whether the plaintiffs’

allegations “nudge” their claims against the defendant “across the line from

conceivable to plausible.” See id. at 679, 683.

                                      B. Application

       The DTPA grants consumers a cause of action for damages caused by another’s

false, misleading, or deceptive acts or practices. See TEXAS BUSINESS & COMMERCE

CODE § 17.50(a). “To allege a DTPA claim, a consumer must plead that the

defendant violated a specific provision of the DTPA, that the consumer detrimentally

relied of the said act or practice, and that the violation was a producing cause of the

consumer’s injury.” Collections Fine Jewelry, Inc. v. Stanley Convergent Security Solutions,

Inc., No. 3:11-CV-3230-N, 2012 WL 12884572, at *3 (N.D. Tex. Aug. 29, 2012)

(Godbey, J.) (quoting TEXAS BUSINESS & COMMERCE CODE § 17.50(a)).

       Here, Tufenkian argues that this court should dismiss the Harts’ DTPA claim

because it is nothing more than a restatement of their breach of contract claim.

Defendant’s Brief at 3. Precedent makes clear that “[a]n allegation of mere breach of

contract, without more, does not constitute a false, misleading, or deceptive at in

violation of the DTPA.” Ashford Development, Inc. v. USlife Real Estate Services Co., 661

S.W. 2d 933, 935 (Tex. 1983); Helms v. Southwestern Bell Telephone Co., 794 F.2d 188,



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190-92 (5th Cir. 1986) (dismissing DTPA claim arising out of errors in published

yellow pages ad because alleged misrepresentation was nothing more than the

defendant’s failure to perform its contractual promise). Courts, however, “have

struggled to clarify the boundary between contract claims and other causes of action.”

Crawford v. Ace Sign, Inc., 917 S.W.2d 12, 13 (Tex. 1996). “The Supreme Court of

Texas has explained that the relevant inquiry involves an examination of ‘both the

source of the defendant’s duty to act (whether it arose solely out of the contract or

from some common-law duty) and the nature of the remedy sought by the plaintiff.’”

Shakeri, 2014 WL 5780955 at *5 (quoting Crawford, 917 S.W.2d at 13). When the

injury to the party raising the DTPA claim “is only the economic loss to the subject

of a contract itself, the action sounds in contract alone.” Dewayne Rogers Loggings, Inc.

v. Propac Industries, Ltd., 299 S.W.3d 374, 387 (Tex. 1998). But, “when the plaintiff

alleges not only a breach of contract, but also that the other party “never intended”

to fulfill the contract in the first place[,]” the plaintiff may maintain claims for both

breach of contract and a violation of the DTPA. Shakeri, 2014 WL 5780955 at *5

(citing Tony Gullo Motors I, L.P. v. Chapa, 212 S.W.3d 299, 304 (Tex. 2006)).

Furthermore, “where a plaintiff alleges that the defendant represented that he or she

would provide a certain good or service and the defendant then fails to provide that

good or service, the plaintiff successfully alleges more than a mere breach of contract




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claim.” Collections Fine Jewelry, Inc., 2012 WL 12884572, at *3 (citing Chapa, 212

S.W.3d at 305).

       After reviewing both parties’ arguments and pleadings, this court concludes

that the Harts have successfully alleged more than a breach of contract claim.

       First, this court concludes that the Harts have successfully pled their DTPA

claim because the Harts have alleged that Tufenkian “represented that [it] would

provide a certain good or service and . . . then failed to provide that good or

service[.]” Collections Fine Jewelry, Inc., 2012 WL 12884572, at *3. Specifically, in the

Harts’ second amended complaint the Harts not only allege that Tufenkian

represented that it would provide the Harts with rugs similar in quality, pattern,

color, and texture to the rugs viewed by the Harts in Tufenkian’s Dallas showroom,

but that Tufenkian failed to provide the aforementioned rugs. Plaintiffs’ Second

Amended Complaint at 15-16. Accordingly, this court finds that because the Harts

have alleged that Tufenkian represented that it would provide a good and then failed

to provide it, the Harts have successfully pled a DTPA claim in line with the court’s

decision in Collections Fine Jewelry, Inc..

       In fact, the Harts’ DTPA claim and related allegations are quite similar to

those of the plaintiff in Collections Fine Jewlery, Inc.. There, the defendant contracted

with the plaintiff to provide the plaintiff with a commercial alarm system that the

defendant would service. Collections Fine Jewelry, Inc., 2012 WL 12884572 at *1.



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After the plaintiff’s jewelry store was robbed, the plaintiff sued the defendant for

breach of contract as well as for violations of the DTPA, among other things. Id.

Specifically, the plaintiff alleged that the defendant violated the DTPA by: (1)

misrepresenting that the alarm the plaintiff purchased met certain specifications and

would perform according to those specifications; (2) misrepresenting that the alarm

purchased was operational when it was not; and (3) breaching an implied warranty of

good and workmanlike performance of services. Id. at *3. After reviewing the

plaintiff’s allegations, Judge Godbey concluded that the plaintiff successfully pled a

DTPA claim because the plaintiff’s allegations concerned misrepresentations about a

product. Id. Here, the Harts’ allegations concern misrepresentations about a

product, too—the seven rugs the Harts’ ordered—rather than merely a claim that

Tufenkian failed to perform under the contract. Accordingly, this court concludes

similarly to Judge Godbey in Collections Fine Jewelry, Inc., and finds that the Harts have

pled more than just a breach of contract claim.

      Although Tufenkian argues that the Harts’ DTPA claim is like the DTPA claim

in Crawford v. Ace Sign, Inc., this court finds Tufenkian’s argument unpersuasive. In

Crawford, the Texas Supreme Court determined that the plaintiff’s DTPA claim was

nothing more than a breach of contract claim because it was the defendant’s breach

of contract that actually caused the plaintiff injury, which meant the plaintiff’s claim

was governed by contract law and not the DTPA. Crawford, 917 S.W.2d at 14-15.



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Specifically, the court in Crawford determined that the essence of the plaintiff’s

allegations was that: “(1) the defendants represented that they would perform under

the contract, and (2) nonperformance means that they misrepresented that they

would perform under the contract.” Id. at 14. The Texas Supreme Court determined

that if it were to accept that these allegations were sufficient to plead a DTPA claim,

every breach of contract claim would be converted into a DTPA claim. Id.

Accordingly, the Texas Supreme Court denied the existence of the plaintiff’s DTPA

claim. Id. Here, unlike Crawford, the Harts’ alleged injuries stem not only from

Tufenkian’s alleged breach of contract, but also Tufenkian’s alleged

misrepresentations about the rugs similarity to the showroom samples and about

Harts’ prior approval of the strike offs. This is because the Harts allege that these

misrepresentations led the Harts to enter into the contract and to place purchase

orders related to the rest of the Harts’ remodeling plan. See Plaintiffs’ Second

Amended Complaint at 3-4. Accordingly, this court finds that the essence of the

Harts’ DTPA claim is unlike the claim in Crawford.

      Second, this court concludes that the Harts have successfully pled their DTPA

claim because the Harts allege that Tufenkian “never intended to fulfill the contract

in the first place.” Shakeri, 2014 WL 5780955, at *5-6. Specifically, the Harts claim

that Tufenkian never intended to perform under the contract because, despite

representing that it would do so, Tufenkian: (1) failed to send the showroom samples



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viewed by the Harts to the factory to ensure that the rugs ordered would match the

sample; and (2) failed to ensure that the dye lots used to make the rugs matched the

samples. Based upon these allegations, this court finds that the Harts have stated a

plausible claim for fraudulent inducement under the DTPA. See Chapa, 212 S.W.3d

at 304-5 (concluding that a plaintiff was entitled to assert DTPA claims in addition

to a claim for breach of contract where the plaintiff alleged, and provided proof that,

the defendant represented it would deliver one product to the plaintiff, but never

intended to do so).

      In its reply, Tufenkian argues that its alleged misrepresentations that it would

send showroom samples to the factory and that it would match the dye lots cannot

form the basis of the Harts’ DTPA claim because the quotation agreement between

Tufenkian and the Harts expressly provided that “slight variations in color, tone, and

design may occur.” Reply at 2. Because the contract contains a provision expressly

contradicting the representations the Harts allege Tufenkian made, Tufenkian argues

that any dispute regarding the alleged misrepresentations “remains nothing more

than a contractual claim.” Id. This court disagrees, however. “[A] party may bring a

fraudulent inducement claim even if the terms of the promise are later subsumed into

the contract. In all such cases, the liability of the defendant on the contract does not

absolve it from liability in tort damages too.” Chappa, 212 S.W.3d at 304-05

(internal footnotes omitted).



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      Finally, this court finds that the Harts’ allegation that that Tufenkian “caused

confusion and misunderstanding about the approval of the strike offs prior to full

production of the rugs” states a plausible DTPA claim under TEXAS BUSINESS &

COMMERCE CODE § 17.46(b)(2). Tufenkian argues that this allegation fails to

support a DTPA claim, since the Harts’ DTPA claim, “in its entirety, is based only on

the alleged economic loss to the subject of the contract itself.” Defendant’s Brief at

5. This court disagrees. As the Harts’ point out in their response brief, they seek

more than just economic losses for Tufenkian’s alleged breach of contract in their

DTPA claim. Response at 6. Unlike their breach of contract claim—where the Harts

seek contractual economic damages for the rugs they purchased that were not

delivered—in their DTPA claim, the Harts also seek damages for items related to the

Harts’ remodeling plan that the Harts purchased in reliance on the defendant’s

misrepresentations: (1) concerning the quality of the rugs, and (2) concerning the

Harts’ ability to approve the strike offs before Tufenkian began full production. Id.

      Ultimately, this court is not convinced by Tufenkian’s arguments, nor can this

court conclude that the Harts’ allegations consist of nothing more than a breach of

contract claim. Therefore, this court cannot grant the relief sought by Tufenkian.

Accordingly, this court denies Tufenkian’s second partial motion to dismiss.




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                               III. CONCLUSION

      For the reasons stated above, Tufenkian’s second partial motion to dismiss the

Harts’ DTPA claim pursuant to Federal Rule of Civil Procedure 12(b)(6) is

DENIED.

      SO ORDERED.

January 18, 2019.




                                      ___________________________________
                                      A. JOE FISH
                                      Senior United States District Judge




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